

Matter of Casanas (2023 NY Slip Op 02826)





Matter of Casanas


2023 NY Slip Op 02826


Decided on May 25, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 25, 2023

Before: Kapnick, J.P., Friedman, Gesmer, Mendez, Pitt-Burke, JJ. 


Index No. 1486/18 Appeal No. 319 Case No. 2022-03215 

[*1]In the Matter of the Estate of Carlos Casanas, Deceased. Aleida E. Casanas, Petitioner-Appellant, Peter Casanas, Cross-Petitioner-Respondent, Richard Casanas, Cross-Petitioner.


Aleida Casanas, petitioner pro se.
Novick &amp; Associates, New York (Kimberly Schechter of counsel), for respondent.



Order, Surrogate's Court, New York County (Rita Mella, S.), entered April 22, 2022, which granted cross petitioner-respondent Peter Casanas's petition for letters of administration in the estate of Carlos Casanas and issued limited letters of administration, unanimously affirmed, without costs.
The court providently exercised its discretion in issuing limited letters of administration to respondent (SCPA 702[1]; see Matter of Marsh, 179 AD2d 578, 580-581 [1st Dept 1992]). The letters of administration granted respondent only the authority to prosecute an SCPA 2103 proceeding against Richard Casanas and any third party in possession of assets in the decedent's estate, and conferred no authority to take possession or control of any property. Given respondent's circumscribed power, appellant's concerns that respondent will act out of self-interest in managing the estate's assets are unfounded. Appellant's contention that respondent is disqualified from the fiduciary role on grounds of dishonesty and bad faith is likewise unavailing (SCPA 707[1][d]). Her assertions that respondent had falsely listed the address of their deceased parents' Florida property as his primary address and barred her from accessing that property are unsupported by the record.
Appellant's remaining arguments are not properly before this Court, as they are raised for the first time on appeal or rely on matters dehors the record (see Matter of Antonio Dwayne G. v Ericka Monte E., 137 AD3d 647, 648 [1stDept 2016], lv denied 27 NY3d 909 [2016]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 25, 2023








